         Case 1:16-cr-00245-CG-N Document 90 Filed 05/04/17 Page 1 of 6                                              PageID #: 277

                                       UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF ALABAMA

UNITED STATES OF AMERICA                                                   §     JUDGMENT IN A CRIMINAL CASE
                                                                           §
v.                                                                         §
                                                                           §     Case Number: 1:16-CR-00245-001
DIONE KYREME PETITE                                                        §     USM Number: 12611-003
                                                                           §     Arthur J. Madden, III, Esquire
                                                                           §     Defendant’s Attorney

THE DEFENDANT:
        pleaded guilty to count 1 of the Superseding Indictment on 1/23/2017.
        pleaded nolo contendere to count(s) which was accepted by the court
        was found guilty on count(s) after a plea of not guilty

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

Title & Section / Nature of Offense                                                                     Offense Ended          Count
21 USC § 846 - Conspiracy to possess with intent to distribute methamphetamine                          12/28/2016             1s




The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

      The defendant has been found not guilty on count(s)
      Counts 4-9 of the Superseding Indictment are dismissed on the motion of the United States

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material changes in
economic circumstances.


                                                                    May 3, 2017
                                                                    Date of Imposition of Judgment




                                                                    /s/ Callie V. S. Granade
                                                                    Signature of Judge

                                                                    CALLIE V. S. GRANADE
                                                                    SENIOR UNITED STATES DISTRICT JUDGE
                                                                    Name and Title of Judge

                                                                    May 4, 2017
                                                                    Date
        Case 1:16-cr-00245-CG-N Document 90 Filed 05/04/17 Page 2 of 6                                     PageID #: 278
AO 245B (ALSD 01/16) Judgment in a Criminal Case                                                                     Judgment -- Page 2 of 6

DEFENDANT:                 DIONE KYREME PETITE
CASE NUMBER:               1:16-CR-00245-001

                                                      IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

ONE HUNDRED FIFTY (150) months as to count 1.

      The court makes the following recommendations to the Bureau of Prisons: that the defendant be imprisoned at an
      institution where a residential, comprehensive, substance abuse treatment program is available; where a mental health
      treatment program is available; and where Defendant’s medical needs can be met.




      The defendant is remanded to the custody of the United States Marshal.
      The defendant shall surrender to the United States Marshal for this district:

              at                                           a.m.             p.m.      on

               as notified by the United States Marshal.

     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

               before 2 p.m. on
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.



                                                              RETURN
I have executed this judgment as follows:


        Defendant delivered on                                     to _________________________________________________


at                                      , with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL

                                                                       By
                                                                                           DEPUTY UNITED STATES MARSHAL
        Case 1:16-cr-00245-CG-N Document 90 Filed 05/04/17 Page 3 of 6                                      PageID #: 279
AO 245B (ALSD 01/16) Judgment in a Criminal Case                                                                   Judgment -- Page 3 of 6

DEFENDANT:                 DIONE KYREME PETITE
CASE NUMBER:               1:16-CR-00245-001



                                                SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: Five (5) years.

      Special Conditions:
1) The defendant shall submit to periodic urine surveillance and/or breath, saliva, and skin tests for the detection of drug and/or
alcohol abuse as directed by the Probation Office. Defendant may incur costs associated with such detection efforts based upon ability
to pay as determined by the Probation Office, and availability of any third-party payments.

2) Defendant shall participate in a mental health evaluation and comply with any treatment consistent with the findings of said
evaluation as recommended by the Probation Office.

3) The Defendant shall submit his person, house, residence, vehicle(s), papers, computer(s) (as defined by 18 U.S.C., § 1030(e)(1)), or
other electronic communication or data storage devices or media, business or place of employment and any other property under the
defendant’s control, to a search conducted by the United States Probation Office at a reasonable time and in a reasonable manner,
based upon a reasonable suspicion of contraband, or evidence of violation of condition of release. Failure to submit to a search in
accordance with this condition may be grounds for revocation. The defendant shall warn any other occupants that the premises may
be subject to searches pursuant to this condition.

4) The defendant shall participate in an assessment or program, inpatient or outpatient, for the treatment of drug and/or alcohol
addiction, dependency, or abuse as instructed and as deemed necessary by the Probation Office. Defendant may incur costs associated
with such drug/alcohol detection and treatment based upon ability to pay as determined by the Probation Office, and availability of
any third-party payments.




For offenses committed on or after September 13, 1994: The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, as directed by the probation officer.

     The above drug testing condition is suspended based on the court’s determination that the defendant poses a low risk of future
     substance abuse. (Check, if applicable.)
     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is
     a student, as directed by the probation officer. (Check, if applicable.)
     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

If this judgment imposes a fine or restitution obligation, it shall be a condition of supervised release that the defendant pay any such
fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
Payments set forth in the Criminal Monetary Penalties sheet of this judgment. The defendant must report to the probation office in the
district to which the defendant is released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court.
The defendant shall also comply with the additional conditions on the attached page.


                                                   See Page 4 for the
                                        “STANDARD CONDITIONS OF SUPERVISION”
        Case 1:16-cr-00245-CG-N Document 90 Filed 05/04/17 Page 4 of 6                      PageID #: 280
AO 245B (ALSD 01/16) Judgment in a Criminal Case                                                 Judgment -- Page 4 of 6

DEFENDANT:                DIONE KYREME PETITE
CASE NUMBER:              1:16-CR-00245-001


                              STANDARD CONDITIONS OF SUPERVISION
    1. the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2. the defendant shall report to the probation officer in a manner and frequency directed by the court or
        probation officer;
    3. the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of
        the probation officer;
    4. the defendant shall support his or her dependents and meet other family responsibilities;
    5. the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
        schooling, training, or other acceptable reasons;
    6. the defendant shall notify the probation officer at least ten days prior to any change in residence or
        employment;
    7. the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute,
        or administer any controlled substance or any paraphernalia related to any controlled substances, except
        as prescribed by a physician;
    8. the defendant shall not frequent places where controlled substances are illegally sold, used, distributed,
        or administered;
    9. the defendant shall not associate with any persons engaged in criminal activity and shall not associate
        with any person convicted of a felony unless granted permission to do so by the probation officer;
    10. the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
        shall permit confiscation of any contraband observed in plain view of the probation officer;
    11. the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned
        by a law enforcement officer;
    12. the defendant shall not enter into any agreement to act as an informer or a special agent of a law
        enforcement agency without the permission of the court;
    13. as directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant’s criminal record or personal history or characteristics and shall permit the
        probation officer to make such notifications and to confirm the defendant’s compliance with such
        notification requirement.
    14. the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if
        applicable, under the provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants convicted
        of qualifying offenses.
         Case 1:16-cr-00245-CG-N Document 90 Filed 05/04/17 Page 5 of 6                                              PageID #: 281
AO 245B (ALSD 01/16) Judgment in a Criminal Case                                                                            Judgment -- Page 5 of 6

DEFENDANT:                   DIONE KYREME PETITE
CASE NUMBER:                 1:16-CR-00245-001



                                        CRIMINAL MONETARY PENALTIES
        The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set forth
on Page 6.
                                                     Assessment                               Fine                      Restitution
TOTALS                                                   $100.00

      The determination of restitution is deferred until ____________. An Amended Judgment in a Criminal Case (AO245C) will be
      entered after such determination.

      The defendant shall make restitution (including community restitution) to the following payees in the amounts listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless specified otherwise
in the priority order or percentage payment column below. (or see attached) However, pursuant to 18 U.S.C. § 3644(i), all non-federal
victims must be paid in full prior to the United States receiving payment.



      If applicable, restitution amount ordered pursuant to plea agreement $ _______________
      The defendant must pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Page 6 may be
      subject to penalties for default, pursuant to 18 U.S.C. § 3612(g).
      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
             the interest requirement is waived for the            fine                                restitution
             the interest requirement for the                      fine                                restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
         Case 1:16-cr-00245-CG-N Document 90 Filed 05/04/17 Page 6 of 6                                          PageID #: 282
AO 245B (ALSD 01/16) Judgment in a Criminal Case                                                                       Judgment -- Page 6 of 6

DEFENDANT:                  DIONE KYREME PETITE
CASE NUMBER:                1:16-CR-00245-001



                                               SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A           Lump sum payments of $100.00 due immediately, balance due not later than ____________, or

            in accordance with                C,                D,                E, or              F below; or

B           Payment to begin immediately (may be combined with                    C,                 D, or                    F below); or

C           Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                                (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D           Payment in equal      (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                               (e.g., months or years), to commence               (e.g., 30 or 60 days) after release from imprisonment
            to a term of supervision; or

E           Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release
            from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
            time; or

F           Special instructions regarding the payment of criminal monetary penalties:
            It is ordered that the Defendant shall pay to the United States a special assessment of $100.00 for Count 1, which
            shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments,
except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of
the court, unless otherwise directed by the court, the probation officer, or the United States Attorney.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

      Joint and Several

          Defendant shall receive credit on her restitution obligation for recovery from other defendants who contributed to the same
      loss that gave rise to defendant's restitution obligation.
      The defendant shall pay the cost of prosecution.
      The defendant shall pay the following court cost(s):
      The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
